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                                     STATEMENT OF FACTS

        1.      Your affiant, Lauren Laielli, is a sworn law enforcement officer employed by the
New Jersey Office of Homeland Security and Preparedness (“NJOHSP”). I have been a sworn
law enforcement officer since February 2010. I am presently assigned full-time as a Task Force
Officer (“TFO”) with the Federal Bureau of Investigation (“FBI”) Philadelphia Joint Terrorism
Task Force (“JTTF”), South Jersey Resident Agency. As an FBI TFO and member of the JTTF, I
have been duly deputized as a federal law enforcement officer, which authorizes affiant to
investigate violations of federal criminal law. As part of my duties, I investigate crimes involving
domestic and international terrorism. Specifically, I have investigated persons and organizations
whom advance violent rhetoric and action in furtherance of same. Often, these investigations are
intertwined with criminal acts, such as vandalism, arson, desecration, and other dangerous
destructive acts.. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a TFO, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
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       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        8.     On January 8, 2021, an anonymous complainant submitted an online tip to the FBI
National Threat Operations Center regarding Parler user @Craftmetal. The tip stated in part, “This
individual has been talking about overthrowing the government for weeks in public chat rooms
pushing disinformation and talking about hanging and executing people repetitively…” and “He
claims to have been in the Capitol Building on the 6th of January and has posted multiple
disturbing videos which would seem to substantiate this statement. This person goes by the handle
@craftmetal on Parler and other websites and social media…” This anonymous complainant
attached screenshots of the subject account, one of which appeared to identify the owner of the
account by name and phone number.which is partially redacted below.




IMAGE ONE

        9.      A LexisNexis Accurint query for the telephone number ending in 0435 provided
in the screenshot from the anonymous tipster yielded two results, including one for Oliveras’s wife
and one for Michael Oliveras with an address in Lindenwold, New Jersey, which matches the
address listed for MICHAEL OLIVERAS on his New Jersey driver’s license.

        10.     As part of this investigation, the affiant has confirmed that MICHAEL OLIVERAS
resides at the address from LexisNexis Accurint and matches the address listed on his driver’s
license, pays rent for his apartment, and has been observed there as recently as November 2021.
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        11.    According to records obtained through a search warrant served on Verizon on
January 6, 2021, in and around the time of the incident, the cellphone associated with the number
ending in 0435 was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the United States Capitol Building from approximately
2:33 p.m. to 2:39 p.m. Additional legal process in March 2021 confirmed that the telephone
number ending in 0435 is serviced on Verizon and MICHAEL OLIVERAS is the subscriber. The
legal process confirmed the phone to be an iPhone SE 64GB, black. Returns from a federal search
warrant from Apple, Inc. from July 27, 2021 show that MICHAEL OLIVERAS has an Apple ID,
ending in numbers 4747 and with the address CEREBRALCC@ICLOUD.COM, connected to the
phone number ending in 0435.

       12.      Following the anonymous complaint, the FBI reviewed the subject Parler account.
This review revealed a video that appears to have been taken from inside the U.S. Capitol Building
during the riots on January 6, 2021, as well as the posting in IMAGE ONE, showing the contact
information provided by the complainant. IMAGE ONE further indicates that the user uses
encrypted electronic communications platforms, such as Telegram and Signal. Additional review
showed the subject account posted on Parler on January 6, 2021, “I m inside the capital” (sic).
DMV records for OLIVERAS contained a driver’s license photo consistent with the photo
provided by the tip identifying OLIVERAS at the Capitol. Law enforcement subsequently obtained
records from the Parler account, as detailed above.

        13.      On January 10, 2021 an identified complainant submitted a tip to the FBI which
read in part as follows, “…One person I follow was at the riot on Wednesday. They posted multiple
videos of inside the Capitol building and them harassing members of the press. The account that
posted this is @Craftmetal on Parler…” On February 4, 2020, the FBI contacted the complainant
who provided the FBI with a video the complainant had compiled. The video compilation consisted
of “highlights” from various videos which the complainant claimed were live streamed on
@Craftmetal’s Parler account. This video compilation showed videos consistent with previously
viewed videos from @Craftmetal’s Parler account, which were videos of the inside of the Capitol
building during the rioting on January 6, 2021.

       14.     On January 10, 2021, an additional identified complainant submitted a tip to the
FBI which read in part as follows, “This man (Michael Oliveras of New Jersey) has extensive
videos throughout the day on his Parler account (@Craftmetal). One of these videos includes him
and others in the House chanting ‘whose house? Our house?!’ (Link below) I first encountered
him when he was inciting violence against counter-protestors at a ‘Stop The Steal’ rally at the
Philadelphia Convention Center on 11/07/2020…” and “…Here is one direct link to a video he
posted that was taken yesterday: https://video.parler.com/PW/hr/PWhrExexrt7g_small.mp4”.

        15.   As part of this investigation, affiant reviewed returns from a federal search warrant
for @Craftmetal Parler account. Search warrant returns from Parler show this account was created
on October 26, 2020 using the telephone number ending in 0435 and email address
oliverasmpc@hotmail.com. This telephone number has been confirmed to belong to MICHAEL
OLIVERAS through legal process. This email address has been linked to MICHAEL OLIVERAS
through open source means. Additionally, records obtained from Microsoft indicated the email
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address contected to OLIVERAS’s Parler account, Oliverasmpc@hotmail.com was registered to
OLIVERAS.

       16.     In one private chat found in the Parler return, OLIVERAS stated, “scroll my
thread… I posted from dc…..” Photos and videos from the Parler return show that OLIVERAS
was live streaming from inside the Capitol. Because the live streaming was inside the U.S. Capitol
on January 6, 2021, your affiant has probable cause to believe that OLIVERAS illegally entered
and remained in the U.S. Capitol on January 6, 2021.

        17.    One video from OLIVERAS’s Parler account showed items believed to belong to
the Press being thrown into a pile, while the video is narrated by the person filming, believed to
be OLIVERAS, “That’s what happens when the fucking fake news shows up at a Patriot rally”. A
screen shot from that video is below:




        18.     Another video from OLIVERAS’s Parler account, a screen shot of which is
provided below, showed unknown individuals pushing to enter the Capitol building, while the
video is narrated by the person filming, believed to be OLIVERAS stating, “Here we go. Here’s
the next rush. There’s a push inside, with resistance”.
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        19.     An additional video from OLIVERAS’s Parler account shows unknown individuals
inside the Capitol building, while the video is narrated by the person filming, believed to be
OLIVERAS, “Where are the fucking traitors? Drag them out by the fucking hair! Where are the
fucking traitors?”.
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        20.    In another private chat from Parler, OLIVERAS stated on January 6, 2021 at
approximately 1:11 a.m., to an unknown individual with the handle @WreckinBall who was a
Parler user, “LeeetsFuuukinGoooooo!!!!”.

       21.    In another private chat from Parler, OLIVERAS stated on December 24, 2020, “I’ll
be back in DC 1/6/21”.

        22.     After reviewing CCTV footage from inside the United States Capitol Building,
OLIVERAS was observed entering the Capitol Building. OLIVERAS was observed wearing a red
sweatshirt with white wording “TRUMP” on the front of the sweatshirt, a red hat with white
lettering on the front and what appears to be buttons attached to the side of the hat, black pants
with a stripe down the side of the leg, black sneakers with white soles and a black backpack.
OLIVERAS is also carrying an American flag attached to a flag pole.
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       23.     Additional video footage from OLIVERAS inside the Crypt of the Capitol
Building appear to show OLIVERAS utilizing his cellular telephone to video inside the Capitol.
A screenshot of which is below:
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       24.     Further, on January 6, 2021, OLIVERAS posted to Parler the following two posts:

               “Sending messages and videos today was not even an option with
               the service interruptions”
               “This is like a Fukin joke, trying to post a video Ready to throw my
               phone against something solid in nature.”

        25. On August 4, 2021, photos of OLIVERAS inside the Capitol were shown to an
individual who has a limited professional relationship with OLIVERAS and has seen him in person
approximately five times. This individual was not able to identify OLIVERAS in the photos.

       26.    On the same day, photos of OLIVERAS inside the Capitol were shown to an
individual who has known OLIVERAS for over twenty years and has a very personal relationship
with OLIVERAS. This individual identified OLIVERAS in three separate photos.

        27.     Based on the foregoing, your affiant submits that there is probable cause to believe
that MICHAEL OLIVERAS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority; and
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
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by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        28.    Your affiant submits there is also probable cause to believe that MICHAEL
OLIVERAS violated 40 U.S.C. § 5104(e)(2)(D) and 40 (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.



                                                    _________________________________
                                                    Task Force Officer Lauren Laielli
                                                    Federal Bureau of Investigation

   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephone, this 8th day of December 2021.
                                                                         2021.12.08
                                                                         15:02:33 -05'00'
                                                  ___________________________________
                                                  HONORABLE ROBIN M. MERIWEATHER
                                                  UNITED STATES MAGISTRATE JUDGE
